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                             EXHIBIT 2




                             EXHIBIT 2
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From:              Liddell, Lindsay L
To:                Const2Audit
Cc:                Larkin, Stephanie; Burnett, Andrew Cobi; Alison Kertis
Subject:           RE: Meet and confer re video depositions- protective order
Date:              Tuesday, March 11, 2025 2:31:00 PM
Attachments:       image001.png
                   image002.png
                   image003.png
                   image004.png



Hello Mr. Ribar,

This is to summarize our brief conversation over the phone. You stated that you were
recording the call, and I stated that I did not consent to being recorded. You then stated we
needed to end the call. You did not wish to meet and confer via telephone unless you could
record the conversation. I explained that the rules require a meet and confer via telephone or
in person, and requested clarification from you. You stated you would not stay on the call
unless you could record it. I also stated that you’re welcome to provide your position on the
below proposed protective order via email, though that would not comply with the rules.

Again, please feel free to provide your position on Defendants’ proposed protective order via
email. I would still like to meet and confer with you via telephone, but I do not consent to
being recorded.

Sincerely,
Lindsay Liddell

                      Lindsay L. Liddell
                      Deputy District Attorney
                      District Attorney's Office
                      lliddell@da.washoecounty.gov | O: 775-337-5714
                      One South Sierra Street, Reno, NV 89501




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to receive this e-mail, please promptly delete this message and notify the sender.




From: Const2Audit <const2audit@gmail.com>
Sent: Tuesday, March 11, 2025 2:08 PM
To: Liddell, Lindsay L <lliddell@da.washoecounty.gov>
Cc: Larkin, Stephanie <slarkin@da.washoecounty.gov>; Burnett, Andrew Cobi
<CBurnett@da.washoecounty.gov>; Alison Kertis <akertis@sierracrestlaw.com>
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video referring to her as a “lying, crying, librarian.” Others in your videos have also
experienced damage to their reputation. For example, you’ve posted numerous videos
claiming Director Scott claiming he assaulted and/or battered you. You have also
posted several videos documenting the litigation against Defendants. This presents a
clear and specific threat that you will use discovery materials in an abusive manner.

Based on the foregoing, Defendants believe a protective order is appropriate to
prohibit publication or sharing of audiovisual deposition recordings and other
information obtained through compelled discovery for any purpose outside litigating
this case. If you’re in agreement, I will circulate a proposed protective order.

If you disagree with a protective order as described, I would like to meet and confer vie
telephone at your earliest convenience. I am available to meet and confer the
following dates/times:
Today (3/11) between 2pm-4pm
Tomorrow (3/12) any time
Thursday (3/13) between 11 am-5 p.m.
Friday (3/14) between 8 a.m.-9:30 a.m., and from 1p.m. to 5 p.m.

Please respond by Thursday, March 13th at the latest because we have depositions
scheduled in the next few weeks. Otherwise, we may need to reschedule the
depositions so we can resolve this issue beforehand.

Thank you,
Lindsay Liddell

                      Lindsay L. Liddell
                      Deputy District Attorney
                      District Attorney's Office
                      lliddell@da.washoecounty.gov | O: 775-337-5714
                      One South Sierra Street, Reno, NV 89501




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